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/ RETAIN

Robert A. Gordon , U. S. BANKRUPTCY JUDGE Evidentiary Hrg: Y€§B

 

Exhibits Filed: Y

PROCEEDING MEMO - CHAPTER 7

v// Date: 10/22/2018 Time: 02:00
CASE: 18-15937 Patrick K. Dunn

Robert M. Stahl IV representing Patrick K. Dunn (Debtor)

representing Brian A. Goldman (Trustee)

[35] Motion to Extend Time to File Complaint to Determine
Dischargeability of Debt Filed by Crestwood Technology
Group Corp.. (Attachments: #s3 Proposed Order)

MD!ANI : Crestwood Technology Group Corp. BY J Greenberg W Kirkman
[38] Response on behalf of Patrick K. Dunn Filed by Robert

M. Stahl IV (related document(s) 35 Motion to
Extend Time filed by Credi::r Crestwood Technology

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DISPOSITIONS: /_ ,(C"\ cq,€..a(
Granted Denied Withdrawn Consent Default Under Adv.

Moot Dismissed Overruled Sustained O.T.J. Fee

Continued to:

 

 

DECISION:
[ ] Signed by Court [ ] Filed by ounsel
[ ] To be prepared by:
[ ] Movant's counsel [ Court
[ ] Respondent's counsel [ ] Other
NOTES:

18-15937:10f1

